                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                       _____________________________

                      Case Nos. 6D2023-0882, 6D2023-2147
                               CONSOLIDATED
                         Lower Tribunal No. 16-CP-1243
                       _____________________________

    LANCE MCKINNEY, ESQ., as Curator of the ESTATE OF ADELAIDE TUNNELL,

                                    Appellant,
                                         v.

  ELLEN JONES, as Personal Representative of the ESTATE OF LORETTA THOMAS,
                                     Appellee.

                       _____________________________

               Appeal from the Circuit Court for Charlotte County.
                           Donald H. Mason, Judge.

                                 August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, WHITE and GANNAM, JJ., concur.


Stacy L. Haverfield, of Stacy L. Haverfield, P.A., Fort Myers, for Appellant.

Patrick J. Reilly, of Snyder &amp; Reilly, Trial Lawyers, Venice, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
